             Case 1:21-cv-00717-LY Document 84 Filed 11/11/21 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

E.T. by and through her parents and            §
and next friends, et al.                       §
                                               §
         Plaintiffs,                           §
                                               §
v.                                             §       Civil Action No. 1:21-cv-00717-LY
                                               §
Mike Morath, in his official capacity as the   §
Commissioner of the Texas Education            §
Agency; the Texas Education Agency;            §
and Attorney General Ken Paxton, in            §
is official capacity as Attorney               §
General of Texas,                              §
                                               §
         Defendants.                           §


     DEFENDANT ATTORNEY GENERAL KEN PAXTON IN HIS OFFICIAL CAPACITY’S NOTICE OF
                                    APPEAL


         Defendant Attorney General Ken Paxton, in his official capacity, hereby appeals to the United

States Court of Appeals for the Fifth Circuit from the Court’s Memorandum Opinion (ECF 82), and

Permanent Injunction and Final Order (ECF 83) entered on November 10, 2021.

                                                   Respectfully submitted.

                                                   KEN PAXTON
                                                   Attorney General of Texas

                                                   BRENT WEBSTER
                                                   First Assistant Attorney General

                                                   GRANT DORFMAN
                                                   Deputy First Assistant Attorney General

                                                   SHAWN COWLES
                                                   Deputy Attorney General for Civil Litigation

                                                   THOMAS A. ALBRIGHT
                                                   Chief - General Litigation Division
          Case 1:21-cv-00717-LY Document 84 Filed 11/11/21 Page 2 of 2




                                                /s/ Ryan G. Kercher
                                                RYAN G. KERCHER
                                                Texas Bar No. 24060998
                                                TAYLOR GIFFORD
                                                Texas Bar No. 24027262
                                                CHRISTOPHER HILTON
                                                Texas Bar No. 24087727
                                                TODD DICKERSON
                                                Texas Bar No. 24118368
                                                Assistant Attorneys General
                                                Office of the Attorney General
                                                P.O. Box 12548, Capitol Station
                                                Austin, Texas 78711-2548
                                                Phone: 512-463-2120
                                                Fax: 512-320-0667
                                                Ryan.Kercher@oag.texas.gov
                                                Taylor.Gifford@oag.texas.gov
                                                Christopher.Hilton@oag.texas.gov
                                                Todd.Dickerson@oag.texas.gov
                                                Counsel for Defendant


                                CERTIFICATE OF SERVICE
        I certify that on November 11, 2021, a true and correct copy of the foregoing document was
served via the Court’s CM/ECF system to all counsel of record.


                                              /s/ Ryan G. Kercher
                                             RYAN G. KERCHER
                                             Assistant Attorney General
